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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                          Case No. 2:07-cr-61-FTM-29DNF

VIRGIL ROBINSON


                                OPINION AND ORDER
      This matter is before the Court on defendant’s pro se Motion
Under   18   U.S.C.     §     3582(c)(2)    to   Modify   or   Reduce    Term    of
Imprisonment Pursuant to USSG § 1B1.10(c) Amendment 706, Effective
March 3, 2008 (Doc. #80) filed on June 11, 2008. (c).                   Defendant
seeks a reduction in his sentence in light of Amendment 706 to the
United States Sentencing Guidelines, which reduces the base offense
level for cocaine base offenses by two levels.
                                        I.
      Title 18 U.S.C. § 3582(c) gives the court discretionary
authority     to    reduce     the   term   of   imprisonment    portion    of   a
defendant’s        sentence    under   certain     circumstances.        Section
3582(c)(2) provides in pertinent part:
      (c) The court may not modify a term of imprisonment once
      it has been imposed except that -
      . . .
      (2) in the case of a defendant who has been sentenced to
      a term of imprisonment based on a sentencing range that
      has subsequently been lowered by the Sentencing
      Commission pursuant to 28 U.S.C. 994(o), upon motion of
      the defendant or the Director of the Bureau of Prisons,
      or on its own motion, the court may reduce the term of
      imprisonment, after considering the factors set forth in
      section 3553(a) to the extent that they are applicable,
      if such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission.
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18 U.S.C. § 3582(c)(2).        The relevant United States Sentencing

Guidelines (U.S.S.G.) policy statement is U.S.S.G. § 1B1.10, as

amended by Amendment 713 and effective March 3, 2008.

      Reading 18 U.S.C. § 3582(c)(2) in conjunction with U.S.S.G. §

1B1.10(a)(1), the general requirements a defendant must establish

to be eligible for a reduction of the term of imprisonment are: (1)

Defendant had been sentenced to a term of imprisonment; (2) the

term of imprisonment was based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to

28 U.S.C. § 994(o); (3) defendant is still serving the term of

imprisonment; and (4) the amendment to the Sentencing Guidelines

has been made retroactive by being listed in U.S.S.G. § 1B1.10 term

of   imprisonment,   a   defendant    must   show      that   a   reduction   is

consistent with the policy statement in U.S.S.G. § 1B1.10.                     A

reduction of a term of imprisonment is not consistent with the

Sentencing    Guidelines   policy    statement,     and   therefore     is    not

authorized by § 3582(c)(2), if none of the retroactive amendments

is applicable to defendant, U.S.S.G. § 1B1.10(a)(2)(A), or if the

retroactive    amendment   does     not   have   the    effect    of   lowering

defendant’s     applicable      guideline        range.           U.S.S.G.     §

1B1.10(a)(2)(B).

      If defendant is eligible for a reduction in the term of

imprisonment and such a reduction is not excluded by the Sentencing

Guidelines policy statement, the court must make two distinct

determinations before deciding whether and to what extent to reduce

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a defendant’s term of imprisonment under § 3582(c)(2).            First, the

court must recalculate the sentence under the amended guidelines.

The court is required to determine the amended guideline range that

would   have   been   applicable    to   defendant   if     the   applicable

retroactive amendment had been in effect at the time defendant was

sentenced. U.S.S.G. § 1B1.10(b)(1). In making this determination,

the court “shall substitute only” the retroactive amendment for the

corresponding    guideline    provisions     there   were    applied    when

defendant was sentenced, and “shall leave all other guideline

application decisions unaffected.”        U.S.S.G. § 1B1.10(b)(1).       The

Court uses that new base level to determine what ultimate sentence

it would have imposed.     United States v. Bravo, 203 F.3d 778, 780

(11th Cir. 2000); United States v. Vautier, 144 F.3d 756, 760 (11th

Cir. 1998), cert. denied, 525 U.S. 1113 (1999).

     The second step is to decide whether, in its discretion, the

court will elect to impose the newly calculated sentence under the

amended guidelines or retain the original sentence.               Bravo, 203

F.3d at 781.     In making this decision, the court considers the

factors listed in § 3553(a) to the extent consistent with the

Sentencing Guidelines policy statement.         Bravo, 203 F.3d at 781;

Vautier, 144 F.3d at 760.     The Court must also consider the nature

and seriousness of the danger to any person or the community that

may be posed by a reduction in defendant’s term of imprisonment,

U.S.S.G. § 1B1.10 cmt. n.1(b)(ii), and may consider post-sentencing

conduct of defendant occurring after the imposition of the original

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term of imprisonment, Application Note 1(b)(iii).                  While the two

steps are required, the court is not required to reduce defendant’s

sentence because that determination is discretionary. Vautier, 144

F.3d at 760; United States v. Cothran, 106 F.3d 1560, 1562 (11th

Cir. 1997); United States v. Vazquez, 53 F.3d 1216, 122728 (11th

Cir. 1995).

                                       II.

      At    the    original     sentence,      the    Court      determined     that

defendant’s Base Offense Level was 30, his Total Offense Level was

27,   his   Criminal   History      Category    was   I,   and    the   Sentencing

Guidelines    range    was    120   months    imprisonment       because   of    the

statutory    mandatory minimum.         Defendant was sentenced to 120

months imprisonment.          Since defendant was sentenced after the

effective date of Amendment 706, the Base Offense Level of 30

already included the two level reduction set forth in the amendment

and defendant is entitled to no further reduction.

      Defendant     also     asserts   that    the    Court   should     take this

opportunity to reduce the sentence pursuant to United States v.

Booker, 543 U.S. 220 (2005) and Kimbrough v. United States, 128 S.

Ct. 558 (2007).      The Court declines to do so.          Proceedings under §

3582(c) and § 1B1.10 “do not constitute a full resentencing of the

defendant,”       U.S.S.G. § 1B1.10(a)(3), or a de novo resentencing.

United States v. Moreno, 421 F.3d 1217, 1220 (11th Cir. 2005),

cert. denied, 547 U.S. 1050 (2006); United States v. Bravo, 203


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F.3d 778, 781 (11th Cir. 2000); United States v. Cothran, 106 F.3d

1560, 1562 (11th Cir. 1997).            The Court does not re-examine the

other sentencing determinations made at the original sentencing.

Cothran,   106     F.3d     at    1562-63;    Bravo,     203    F.3d      at   781.

Additionally, the Eleventh Circuit has already stated that “Booker

is inapplicable to § 3582(c)(2) motions.”                Moreno, 421 F.3d at

1220; United States v. Alebord, 256 Fed. Appx. 255 (11th Cir.

2007).

     Because     defendant       is   proceeding   pro   se,    the    Court    must

construe his request for post-conviction relief liberally, United

States v. Brown, 117 F.3d 471, 475 (11th Cir. 1997), and consider

all possible bases of authority even though none may be identified

by defendant, United States v. Jordan, 915 F.2d 622, 624-25 (11th

Cir. 1990), cert. denied, 499 U.S. 979 (1991).                 The Court has no

inherent power to reduce a sentence, but rather must look to the

specific parameters of federal statutes and the Federal Rules of

Criminal Procedure.        United States v. Diaz-Clark, 292 F.3d 1310,

1315 (11th Cir. 2002), cert. denied, 539 U.S. 951 (2003).                        The

Court finds no basis here.

     Additionally,        the    Sentencing   Guidelines       do   not   allow   a

sentence   below    the     statutory     mandatory      minimum,     U.S.S.G.    §

5G1.1(c)(2), and this was not changed by Amendment 706.                        E.g.,

United States v. Flowers, 257 Fed. Appx. 203 (11th Cir. 2007).

Even if eligible, therefore, there could be no reduction since



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defendant was originally sentenced at the mandatory minimum 120

months.

     Accordingly, it is now

     ORDERED AND ADJUDGED:

     Defendant’s pro se Motion Under 18 U.S.C. § 3582(c)(2) to

Modify or Reduce Term of Imprisonment Pursuant to USSG § 1B1.10(c)

Amendment 706, Effective March 3, 2008 (Doc. #80) is DENIED.

     DONE AND ORDERED at Fort Myers, Florida, this            1st    day of

July, 2008.




Copies:
AUSA Molloy
Virgil Robinson, Jr.
U.S. Probation
U.S. Marshal




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